982 F.2d 529
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order
    L.D. SHEARER, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.
    No. 92-6270.
    United States Court of Appeals, Tenth Circuit.
    Dec. 15, 1992.
    
      Before LOGAN, JOHN P. MOORE, and BRORBY, Circuit Judges.
      ORDER AND JUDGMENT*
      JOHN P. MOORE, Circuit Judge.
    
    
      1
      After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.   See Fed.R.App.P. 34(e);  10th Cir.R. 34.1.9.   The cause is therefore ordered submitted without oral argument.
    
    
      2
      This appeal is from the dismissal of an action asserting a claim of negligence arising from a surgical procedure performed upon plaintiff by U.S. Navy surgeons in a Navy hospital while plaintiff was a member of the Navy.   The district court ruled the action is barred by  Feres v. United States, 340 U.S. 135 (1950).   We agree.   Plaintiff's attempt to distinguish Feres is unpersuasive and borders on the frivolous.
    
    
      3
      AFFIRMED.
    
    
      
        *
         This order and judgment has no precedential value and shall not be cited, or used by any court within the Tenth Circuit, except for purposes of establishing the doctrines of the law of the case, res judicata, or collateral estoppel.   10th Cir.R. 36.3
      
    
    